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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- -- - -- --- - - -- - -- -- - ---- - -- -- - - ---- -- -- --- - - ---- - - -- - -- - - -- - - -- -- - x                  ECF Case
DENISE DIAZ

                                                                      Plaintif,                                           13 CV 8281 (PAC)
              -against-

                                                                                                                          AMENDED COMPLAINT
CITY OF NEW YORK,
NEW YORK COUNTY DISTRICT ATTORNEY'S
OFFICE,
NEW YORK CITY POLICE DEPARTMENT,                                                                                          Jury Demand
RA YMOND W. KELLY, individually and in
his capacity as the former Commissioner of the
New York City Police Deparment
JOSE FLORES, individually and in his offcial
capacity as Investigator for the New York
County District Attorney's Office,
JOHN DOE 1, individually and in his offcial
capacity as Captain in the NYPD, and
JOHN DOE 2, individually and in his offcial
capacity as an Officer in the NYPD or the
New York City District Attorney's Office,

                                              Defendants.
---------------------------------------------------------------- x

              Plaintiff, Denise Diaz, by her attorney Ricardo A. Aguirre, Esq., complaining of the

Defendants, hereby alleges as follows:

                                                                     Preliminary Statement

              1. This is a civil rights action brought by Plaintiff Denise Diaz, to seek relief for


Defendants violation of her rights, privileges and immunities secured by the Civil Rights Act of

1817, 42 U.S.C. § 1983, the Fourth and Fourteenth Amendments of the United States

Constitution, and the common laws and Constitution of                                                      the State of   New York.
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            2. Upon information and belief, Plaintiff Diaz brings this action to seek redress for

acts of unlawful and discriminatory administrative practices, policies and actions by Defendants'

that caused Plaintiff to be unlawfully arested, her home unlawfully searched, her property

unlawflly seized, her home telephone unlawfully subjected to sureilance, her reputation

defamed and experiencing the loss of career benefits, wages and opportunities. Plaintiff seeks

actual, compensatory and punitive damages, injunctive and declaratory relief, and such other

relief as this Court deems just and equitable.



                                          THE    PARTIES

            3. Plaintiff Denise Diaz is a female American citizen of Puerto Rican decent that


resides in the County of the Bronx and the City and State of New York. Plaintiff Diaz is also a

Sergeant in Defendant New York City Police Deparment.

            4. Defendant City of New York is a municipal corporation duly incorporated under


the laws ofthe State of   New York.

            5. Defendant City of New York maintains direct administrative oversight of its two

municipal agencies, Defendants New York County District Attorney's Office and New York

City Police Department.

            6. Defendant New York City District Attorney's Office (hereinafter referred to as

"Defendant DANY"), a deparment and/or agency of Defendant City of New York, is
responsible for the appointment, training, supervision, promotion and discipline of assistant

district attorneys and supervisory assistant district attorneys, and their investigators, including

the individually named defendants herein.


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              2. Upon information and belief, Plaintiff Diaz brings this action to seek redress for

acts of unlawful and discriminatory administrative practices, policies and actions by Defendants'

that causedPlaintiffo be unlawflly arested, her home unlawfully searched, her property


unlawfully seized, her home telephone unlawfully subjected to sureilance, her reputation


defamed and experiencing the loss of career benefits, wages and opportunities. Plaintiff seeks

actual, compensatory and punitive damages, injunctive and declaratory relief, and such other

relief as this Court deems just and equitable.



                                                    THE   PARTIES

              3. Plaintiff Denise Diaz("Plaintiff' or "Ms. Diaz") is a female American citizen of


Puerto Rican decent that resides in the County of              the Bronx and the City and State of   New York.

PlaintiffDiaz is also a Sergeant in Defendant New York City Police Department.

              4. Defendant City of New York is a municipal corporation duly incorporated under


the laws of       the State of       New York.

              5. Defendant City of New York maintains direct administrative oversight of its two

municipal agencies, Defendants New York County District Attorney's Office and New York

City Police Department.

              6. Defendant New York City District Attorney's Office (hereinafter referred to as

"Defendant DANY"), a deparment and/or agency of Defendant City of New York, is
responsible for the appointment, training, supervision, promotion and discipline of assistant

district attorneys and supervisory assistant district attorneys, and their investigators, including

the individually named defendants herein.


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            7. Defendant New York City Police Department (hereinafter referred to as

"Defendant NYPD"), a deparment or agency of Defendant City of                        New York responsible for the

appointment, training, supervision, promotion and discipline of police officers and supervisory

police officers, including the individually named defendants herein.

            8. At all times relevant, Defendant Raymond W. Kelly(hereinafter referred to as


"Defendant Kelly") is the former Commissioner of the Defendant NYPD, who was appointed by

Defendant City of             New York's former Mayor Michael Bloomberg.

            9. That as Defendant NYPD's chief executive offcer, Defendant Kelly maintained

daily oversight of           Defendant NYPD's administration and operations.

            10. As Commissioner of Defendant NYPD, Defendant Kelly instituted administrative

policies and procedures that included, but were not limited to, disciplining members of service in

Defendant NYPD.

            1 1. At all times relevant herein, Defendant Kelly was acting as an agent, servant and


employee of Defendants City of New York and NYPD and is being sued in his individual and

official capacity.

            12. At all times relevant, Defendant Jose Flores (hereinafter referred to as "Defendant


Flores"), was an investigator employed by Defendants City of                     New York and DANY.

            13. At all times relevant herein, Defendant Flores was acting as an agent, servant and


employee of Defendants City of New York and DANY, and is being sued in his individual and

official capacity.

            14. At all times relevant, Defendant John Doe #1 (hereinafter referred to as

"Defendant JD#l"), was an officer or supervisor employed by Defendants City of                    New York and

NYPD.
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            15. At all times relevant herein, Defendant JD# 1 was acting as an agent, servant and


employee of Defendants City of New York and NYPD, and is being sued in his individual and

offcial capacity.


            16. At all times relevant, Defendant John Doe #2 (hereinafter referred to as

"Defendant JD#2"), was an officer or supervisor employed by Defendants City of                    New York and

NYPD or DANY.

            17. At all times relevant herein, all individual defendants were acting under color of

state law.

            18. Defendants are "persons" within the meaning of 42 U.S.C. §2000e (a).




                                                   JURISDICTION AND VENUE

            19. This Court has                   jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,1343

and 1367 (a).

            20. Plaintiffs further invoke this Court's supplemental jurisdiction, pursuant to 28


U.S.C. 1367, for any and all state constitutional and state claims and common law violations

pursuant to 28 U.S.C. § 1367, as the common law claims form par of the same case or

controversy.

            21. Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c).



                                                               JURY        DEMAND




            22. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff


demands a trial by jury in this action on each and everyone her claims.


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                                                             NOTICE OF CLAIM

            23. Pursuant to the "Continuous Tort Theory", within ninety days after NYPD failed


to restore her to full duty after her second request, Plaintiff Diaz fied a Notice of Claim upon

Defendant City of              New York by delivering copies of                   the notices to the person designated by law

as a person to whom such claims may be served.

            24. The Notice of Claim was in writing, sworn to by Plaintiff and contained

Plaintiff s name and address.

           25. The Notice of                    Claim set out the nature of          the claims, the time when and the place

where and maner by which the claim arose, and the damages and injuries claimed to have been

sustained by plaintiff.

           26. The City of                  New York has neglected and failed to adjust the claims within the

statutory time period.



                                             FACTS COMMON TO ALL COUNTS

           27. At approximately 7:50 a.m. on or about November 24, 2010, Plaintiff Diaz's

common-law husband, George Castro, was arrested by law enforcement offcials for grand

larceny in the vicinity of Plaintiff s lawfl residence.

           28. Upon hearng commotion outside her home, Plaintiff Diaz left her residence,

approached the officers and inquired "What's going on?"

           29. Investigator Michael Wigdor of Defendant DANY told her, "Mind your business.


Go back inside! This has nothing to do with you!"

           30. Plaintiff Diaz identified herself to Investigator Wigdor as a NYPD. Officer. With




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that. they both proceeded to her residence where Plaintiff Diaz produced her NYPD

identification card. In turn, Investigator Wigdor contacted Assistant District Attorney Patty

O'Conner of        Defendant DANY and stated they would need a search warant.

              31. During the interim, several other offcials from Defendants DANY and NYPD

arrived at Plaintiffs residence.


              32. Plaintiff contacted her union attorney, Andrew Quinn, who telephonically

directed the offcials not to conduct a search without a fully executed warant.

                                               False Arrest

              33. On or about 8:30 a.m., without probable cause or an arest warant, Defendant

Flores stated loudly that Claimant was "associating with a known felon" and subsequently

informed the Defendant JD#l, assumed to be NYPD 45th Precinct Duty Captain, that Plaintiff

Diaz was "Under!"

              34. The term "Under" in police jargon that a person is under arrest.

              35. After conferrng with Defendant Flores, Defendant JD#l, without probable cause


or arrest warrant, without Plaintiff Diaz's consent, against her wil and with the intent to deprive

her of her freedom and liberty, directed that Plaintiff Diaz be placed in custody and escorted to

and detained at the 43fdprecinct for interrogation. Sergeant Anthony Borelli, Police Benevolent

Association Delegate, followed Defendant JD#l's directive and, in fact, transported and escorted

Plaintiff Diaz to said police precinct where she was detained.

                                          Unlawful Imprisonment

              36. At approximately 8:50 a.m. on November 24,2010, PlaintiffDiaz was placed in a


police room and was not allowed to leave.


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          37. Two Internal Affairs Bureau (hereinafter referred to as "lAB") sergeants were

posted in said police room and guarded Plaintiff Diaz to prevent her from leaving.

          38. Plaintiff Diaz could not go to the bathroom without being escorted by a police


officer and was not allowed to place a phone calL.

          39. Plaintiff Diaz received the same treatment as the prisoners that are arrested and


held against their will at a police precinct.

          40. At approximately 7:05 p.m. on November 24, 2010, Plaintiff Diaz was released


from custody at the 43 Precinct without being charged with a crime or violation.

                                     Unlawful Search and Seizure


          41. At approximately 3:00 p.m. on November 24, 2010, while in custody at the 43fd

Precinct, union delegate Anthony Borelli informed Plaintiff Diaz that Defendant DANY obtained

a search warant for her residence and Defendant JD#2 conducted the ilegal search and seizure.

          42. Plaintiff indicated to Borelli that she wanted to be present in her home when the


officers commenced the search of the premises. She was told she could not leave the precinct.

          43. Plaintiff Diaz then requested to see and inspect the search warant before the


search was commenced. That request was also denied.

          44. Upon returning home that evening, Plaintiff Diaz discovered that the officials

removed her home computer, two laptop computers, $5,000 in cash, personal financial and

insurance documents, credit cards, three cameras, undeveloped fim rolls, and money that

adorned plaintiff s religious arifacts.

          45. To date, none ofthese items have ever been returned.


          46. Furthermore, said officials did not leave nor did they ever furnish Plaintiff with a

copy of   the search warrant.
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            47. Several months later, George Castro's defense attorney demanded a copy of said


search warrant. The District Attorney's office forwarded a copy of the warant to Mr. Castro's

attorney. The attorney, in turn, made a copy for Plaintiff               Diaz.

           48. Upon inspection, the information in the search warant clearly indicates that the

warrant was not drafted or executed on November 24, 2011.(See Plaintif's Exhibit "A ").

            49. Said warant contained specific information that could not have been known the

day Plaintiff Diaz was arrested and unlawflly imprisoned.

            50. Furthermore, the warant does not indicate which judge authorized and signed the


warant.

                                                   Unlawful Telephone Surveilance


           51. Shortly after George Castro was arrested on November 2010, Plaintiff Diaz began


to notice various odd occurrences with her home telephone transmissions.

            52. Plaintiff noticed long pauses prior to phone calls she made before the other


party's phone began ringing.

           53. Plaintiff noticed beeping sounds occurrIng during her home telephone

conversations.

           54. Plaintiff noticed background noise during her home telephone conversations.


           55. Upon information and belief, as well as her law enforcement experience, Plaintiff

Diaz concluded her home telephone was subjected to unlawfl surveillance by Defendants City

of   New York, DANY and/or NYPD.

                                  PlaintiffDiaz Subsequent Career in Defendant NYPD

           56. Prior to November 24, 2010, Plaintiff Diaz was and remains an exemplar offcer


and supervisor in Defendant NYPD.
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       57. Plaintiff Diaz never received a disciplinary complaint in her 17 year career and


always received exceptional evaluations.

       58. Plaintiff             was respected and regarded as an excellent and knowledgeable offcer by

her supervisors, and was studying for the Lieutenant's promotional examination on or about the

time George Castro was arested.

       59. However, since November 24,2010, Plaintiff               Diaz has had her weapon and shield

stripped by Defendant NYPD, placed on modified assignment and was not returned to full duty

for over three years; even though she has never been charged criminally or administratively by

Defendants DANY or NYPD.

       60. Plaintiff Diaz has been subjected to numerous interviews by the Defendant

DANY's Offce and the Internal Affairs Bureau in Defendant NYPD.

       61. Plaintiff Diaz has been assigned to the undesirable Video Interactive Patrol


Enhanced Response Unit (hereinafter referred to as "VIPER") with officers that are considered

disciplinary problems, and where one's career virtually ends in Defendant NYPD.

       62. During this period, Plaintiff Diaz inquired on two separate occasions as to why

she had not been placed back on full duty, but Defendant NYPD has never responded.

       63. Yet, upon information and belief, male offcers that had committed egregious


offenses, including but not limited to police brutality, excessive force, theft, dru driving,

domestic violence, perjury, etc., not only kept their guns and shields, but were quickly placed

back on full duty once the matter was adjudicated.

       64. Because of said assignment, Plaintiff Diaz lost thousands of dollars in overtime,

night differential and promotional pay opportunities.


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                            Defendant Kelly's Arbitrary and Capricious Disciplinary Policy

              65. On or about Wednesday, November 16, 201 1, journalist Graham Rayman of the

New York Vilage Voice Newspaper wrote an article entitled "Ray Kelly's Gulag". (See

Plainttrfs Exhibit "B")

              66. In the article, Rayman wrote:


               "Police Commissioner Kelly keeps a secret list of police offcers who cannot be
transferred without his specifc approvaL. The list, which the Voice obtained from a NYPD
employee, is part of a 23-page spreadsheet that contains the names of 2,300 officers, their ranks.
their ID numbers, old units, new units, and coded descriptions of thousands of personnel
decisions throughout the past several years. Strangely, the document isn't marked with any
police insignia or command titles. "

              67. The aricle proceeds to detail of how Defendant Kelly denied transfers and

rejected pending transfers of over 100 officers.

              68. The aricle also mentions the large number of offcers that are transferred to the

VIPER Unit for disciplinar reasons, and whose careers are virtally "frozen" without their

knowledge.

              69. To this date, Defendants City of        New York, NYPD and Kelly have not denied the

existence nor the usage of said list.

              70. Upon information and belief, Plaintiff Diaz's name was on Defendant Kelly's

disciplinary list, and Defendant Kelly intentionally and knowingly refused to transfer Plaintiff

Diaz out of          VIPER even though she was never charged criminally or administratively.

              71. By reason of the above, Plaintiff Diaz has been irreparably injured physically and

emotionally, and in character and reputation in the community, both professionally and,

otherwise, monetarly.



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                          Plainti((Diaz's Present Status in Defendant NYPD

            72. On or about January 1, 2014, Wiliam Bratton replaced Defendant Kelly as

Commissioner of      Defendant NYPD.

            73. Upon taing offce, Commissioner Bratton reviewed Defendant NYPD's

disciplinary policy and the number of officers placed on modified assignment for disciplinar

reasons.

            74. Shortly thereafter, numerous officers were removed from modified assignment


and placed back on full duty.

            75. On March 5, 2014, Defendant NYPD restored Plaintiff Diaz to full duty status,

returned her shield and weapon, and assigned her to the 49th Precinct as a Patrol Supervisor.




                                                  FIRST CLAIM
                      (Claim Pursuant to 42 U.S.C. 1983 Against All Defendants
                              for Violations of      the Fourth Amendment)

           76. Plaintiff repeats and re-alleges paragraphs 1 through75 above as if fully set forth


herein.

           77. By their conduct, as described herein, and acting under color of state law to

deprive Plaintiff Diaz of her rights to be free from unreasonable searches and seizures, unlawfl

telephone surveillance, and arrest without probable cause as required by the Fourth and

Fourteenth Amendments, Defendants are liable for the violation of 42 U.S.C. § 1983 which

prohibits the deprivation under color of state law of rights secured under the United States

Constitution.

           78. Each of the Defendants has acted with deliberate indifference to the Fourth

Amendment rights of Plaintiff and other similarly situated individuals. As a direct and proximate
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result of Defendant's unlawful actions, Plaintiff has suffered, and wil continue to suffer

damages, including physical, mental and emotional injury and pain, mental anguish, suffering,

humiliation and embarassment.


                                                 SECOND CLAIM
                       (Claim Pursuant to 42 U.S.C. 1983 Against All Defendants
                             for Violations of       the Fourteenth Amendment-
                                               Deprivation of Property)

           79. Plaintiffs repeat and re-allege paragraphs 1 through 78 above as if fully set forth


herein.

            80. Each of the Defendants has acted with deliberate indifference to the Fourteenth

Amendment rights of Plaintiff and other similarly situated individuals. As a direct and proximate

result of the acts of each of the Defendants, Plaintiffs Fourteenth Amendment rights have been

violated. By acting under the color of law to deprive Plaintiff of her rights under the Fourteenth

Amendment, the Defendants are in violation of 42 U.S.C. § 1983, which prohibits deprivation

under color of state law of rights secured under the United States Constitution.

            81. Because Defendant's policies, practices and/or customs are without any

reasonable and/or ariculable purpose, Plaintiff and other similarly situated individuals, canot

alter Defendant's behavior to avoid future violations of their constitutional rights at the hands of

Defendants City of     New York, DANY and NYPD and their employees, servants and agents.

            82. Plaintiff has no adequate remedy at law and will suffer serious and irreparable


harm to her constitutional rights unless Defendants are enjoined from continuing their policy,

practice and/or custom of allowing Plaintiff and individuals similarly situated, to remain in

prolonged modified duty status and experience wage losses, and that have directly and

proximately caused such constitutional violations.
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          83. Furthermore, Plaintiff        has been seriously damaged in lost wages experienced

since November 24, 2010 and wil experience future wage losses. Therefore, Plaintiff seeks

compensatory damages in the amount to be determined at triaL.

                                              THIRD    CLAIM

                            (Claim Pursuant to 42 U.S.C. 1983 Against All Defendants
                        for Violations ofthe Fourteenth Amendment -Equal Protection)

          84. Plaintiffs repeat and re-allege paragraphs 1 through83 above as if fully set forth


herein.

          85. Defendants City of New York, DANY, NYPD, Kelly and their employees,

servants and agents, sanctioned, encouraged and utilized an arbitrarly and capricious policy

and/or practice of keeping Plaintiff Diaz and other individuals similarly situated without being

charged with an offense or failing to adjudicate outstanding disciplinar matters in a timely

fashion, and failing to equally protect and fairly treat all offcers with a sound disciplinary

system.

          86. Plaintiff Diaz languished in the VIPER Unit on modified assignment for more


than three years without being charged with an offense, while other officers with serious offenses

are quickly returned to full duty once their disciplinary matters are adjudicated.

          87. That said modified assignment constructively imprisoned Plaintiff Diaz in her


employment in Defendant NYPD, wherein Defendant Kelly, their employees, servants and

agents intentionally and knowingly deprived her the right to be justly compensated and work in

her full capacity as a Sergeant in Defendant NYPD.

          88. Employees, servants and agents' of Defendants City of New York, its agencies


Defendants NYPD and DANY, their constitutional abuses and violations of the Foureenth

Amendment, in their role as state actors and acting under color of law, were and are directly and
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proximately caused by policies, practices and/or customs devised, implemented and enforced,

encouraged and/or sanctioned by Defendants City of             New York.

            89. Each of the Defendants has acted with deliberate indifference to the Fourteenth

Amendment rights of Plaintiff and other similarly situated individuals. As a direct and proximate

result of the acts of each of the Defendants, Plaintiffs Fourteenth Amendment rights have been

violated. By acting under the color of law to deprive Plaintiff of her rights under the Fourteenth

Amendment, the defendants are in violation of 42 U.S.c. § 1983, which prohibits deprivation

under color of state law of rights secured under the United States Constitution.

            90. Because Defendant's policies, practices and/or customs are without any

reasonable and/or articulable purpose, Plaintiff, and other similarly situated individuals, cannot

alter Defendant's behavior to avoid future violations of their constitutional rights at the hands of

Defendants City of             New York, and its agencies Defendants NYPD and DANY, Defendant Kelly

and their employees, servants and agents, .

            91. Plaintiff has no adequate remedy at law and wil suffer serious and irreparable


har to her constitutional rights unless Defendants are enjoined from continuing their policy,


practice and/or custom of failing to administer an equal and fair disciplinary system for Plaintiff

and other individuals similarly situated, that have directly and proximately caused such

constitutional violations.

                                                     FOURTH CLAIM
                              (Claim Pursuant to 42 U.S.C. 1983 Against All Defendants
                           for Violations of the Fourth Amendment - Due Process Rights)

            92. Plaintiffs repeat and re-allege paragraphs 1 through91 above as if fully set forth


herein.


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            93. Defendants City of New York has, acting through its agency Defendant NYPD,

developed implemented, sanctioned, encouraged and utilized an arbitrarly and capricious policy

and/or practice of not giving notice to Plaintiff and other individuals similarly situated of their

intent and reason to prolong their modified duty status and an opportunity to be heard and appeal

said decision.

            94. On November 24, 2010, Plaintiffs career in NYPD constructively ended when

she was falsely arrested, unlawflly imprisoned and subsequently placed on modified assignment

for over three years without being charged with an offense.

            95. Within those three years, Plaintiff Diaz sent correspondences to NYPD's Deputy


Commissioner of Personnel requesting to know how much longer she would remain on modified

assignment and requested to be placed back on full duty.

            96. No one in NYPD responded to Plaintiffs requests.

            97. Defendant City of New York, acting through its agency Defendant NYPD, its

commissioner Defendant Kelly, their offcers, supervisors and executive managers, committed

constitutional abuses and violations of the Fourteenth Amendment's Due Process right, in their

role as state actors and acting under color of law, were and are directly and proximately caused

by policies, practices and/or customs devised, implemented and enforced, encouraged and/or

sanctioned by Defendants City of   New York.

           98. Each of the Defendants has acted with deliberate indifference to the Fourteenth

Amendment - Due Process rights of Plaintiff and other similarly situated individuals. As a direct

and proximate result of the acts of each of the Defendants, Plaintiffs Fourteenth Amendment

rights have been violated. By acting under the color of law to deprive Plaintiff of her rights under


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the Fourteenth Amendment, the defendants are in violation of 42 U.S.C. § 1983, which prohibits

deprivation under color of state law of rights secured under the United States Constitution.

           99. Because Defendant's policies, practices and/or customs are without any

reasonable and/or articulable purpose, Plaintiff, and other similarly situated individuals, canot

alter Defendant's behavior to avoid future violations of their constitutional rights at the hands of

Defendant City of New York, acting through Defendant NYPD and its employees, servants and

agents.

            100. Plaintiff has no adequate remedy at law and wil suffer serious and irreparable

harm to her constitutional rights unless Defendants are enjoined from continuing NYPD's policy,

practice and/or custom of denying due process rights due to Plaintiff that have directly and

proximately caused such constitutional violations.

                                              FIFTH   CLAIM


                                               (Monell Claim)


            101. Plaintiffs repeat and re-allege paragraphs 1 through 100 above as if fully set forth

herein.

            102. At all relevant times herein, Defendant City of New York, acting through its


agency Defendant NYPD and its commissioner Defendant Kelly, developed, implemented,

enforced, and sanctioned de facto policies, practices and/or customs exhibiting deliberate

indifferences to Plaintiff s constitutional rights which caused the violation of such rights.

            103. Defendant's unlawful actions were done willfully, knowingly and with the

specific intent to deprive Plaintiff Diaz of constitutional rights under the Fourth and Fourteenth

Amendments of        the U.S. Constitution.


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            104. The constitutional abuses and violations by Defendant City of   New York, through

the actions of Defendants DANY, NYPD, its commissioner Defendant Kelly, were and are

directly and proximately caused by policies, practices and/or customs developed, implemented,

encouraged, enforced, and sanctioned by Defendant City of New York, including the failure to:

(a) to adequately supervise and train its offcers and agents, including the Defendants, thereby

failing to adequately discourage further constitutional violations on par of their police officers

and investigators; (b) to properly and adequately monitor and discipline its officers, including

Defendants; and (c) to properly and adequately investigate complaints of police making false

arests and unlawful imprisonment of citizens, acts of misconduct that were tolerated by

Defendant City of            New York.

            ios. Upon information and belief, Defendant City of New York, acting through its

agency Defendant NYPD and its commissioner Defendant Kelly, developed, implemented,

enforced, encouraged and sanctioned a de facto policy, practice, and/or custom of unlawflly

arresting without reasonable suspicion or probable cause, individuals who exercise their rights

under the Fourth Amendment.

            106. Defendants' unlawful actions were done willfully, knowingly and with the

specific intent to deprive Plaintiff Diaz of her constitutional rights under the Fourth and

Fourteenth Amendments to the U.S. Constitution.

            107. Defendants have acted with deliberate indifference to Plaintiffs constitutional

rights. As a direct and proximate result of the acts as stated herein by each of the Defendants,

Plaintiffs constitutional rights have been violated which has caused her to suffer physical,

mental and emotional injury and pain, mental anguish, suffering, humiliation and

embarrassment.
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           108. Plaintiff Diaz has no adequate remedy at law and wil suffer senous and

irreparable harm to their constitutional rights unless Defendants are enjoined from continuing

their unlawful polices, practices, and/or customs which have directly and proximately caused

such constitutional abuses.

                                                     SIXTH     CLAIM


                         (Article I, Section 12 of           New York State Constitution)


           109. Plaintiffs repeat and re-allege paragraphs 1 through 108 above as if fully set forth

herein.

           1 10. The acts of Defendants, acting under color of law, in subjecting Plaintiff to

unlawfl search and seizure, unlawfl surveillance of her home telephone, and arrest without or

probable cause and were designed to, and did cause pain and suffering and emotional distress to

Plaintiff in violation of her constitutional rights as guaranteed by Aricle I, Section 12 of the New

York State Constitution.

           1 1 1. The foregoing acts and conduct of Defendants were a direct and proximate cause

of injury and damage to Plaintiff and violated her rights as guaranteed by the Constitution of the

State of   New York.

                                                   SEVENTH CLAIM
                                                 (State Causes - Slander)

           1 12. Plaintiffs repeat and re-allege paragraphs 1 through 1 1 1 above as if fully set forth

herein.

           113. That on November 24, 2010, Defendant Flores stated loudly that Claimant was

"associating with a known felon" and subsequently informed Defendant JD# 1 that Plaintiff Diaz



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was "Under!" Defendant JD#l, in turn directed that Plaintiff Diaz be placed in custody and

detained at the 43fd Precinct for interrogation.

          1 14. That said words were published by said Defendant to numerous law enforcement


officials in Plaintiff's home and were later published to police officers and supervisors in her

home command, throughout the Defendant NYPD community and newspapers in the City of

New York; despite the fact that at that time the Commanding Officer of the 43fd Precinct and an

lAB Detective were relatives that associated with George Castro, but were never charged,

arrested for "associating with a known felon", or placed on modified assignment.

          1 15. That said words were defamatory per se because they concerned and were about


Plaintiff Diaz associating with a known felon, a serious employment termination offense in

Defendant NYPD, and that she was a suspect of a crime that warranted her arrest.

          1 16. That said words were false.


          117. That said false words were made with scienter or knowledge of falsity, falsehood

or in the alternative, were so recklessly and wantonly published as to give rise to an inference of

malice.

          1 18. That said Defendants caused actual and emotional damages to the Plaintiff.


                                              EIGHTH CLAIM
                                    (State Claims - Injurious Falsehood)

          1 19. Plaintiff repeats and re-alleges paragraphs 1 through 118 above as if fully set forth

herein.

          120. That as a consequence of the foregoing, the words of Defendant Flores were of a


kind calculated to ostracize Plaintiff from her NYPD community and alter the remainder of her

career.
                                                   19
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            121. That as a result of the foregoing, both existing and potential, prospective police

officers were prevented or dissuaded from dealing with or interacting with Plaintiff.

            122. That as a result of the foregoing, Defendant Flores damaged Plaintiff in a sum to

be determined at triaL.

                                                                     NINTH        CLAIM


                                                        (State Claim - Prima Facie Tort)

            123. Plaintiff repeats and re-alleges paragraphs 1 through 122 above as if fully set forth

herein.

            124. That the said Defendants intentionally inflcted said har upon Plaintiff as

aforesaid.

            125. That the said Defendants did so for no valid or justifiable excuse.

            126. That as consequences of the foregoing culpable conduct by Defendants, Plaintiff

was, in fact, injured and damaged, both economically and non-economically, including suffering

and mental anguish.

                                                                    TENTH         CLAIM


                                                      (State Claim - Respondeat Superior)

            127. Plaintiff repeats and re-alleges paragraphs 1 through 126 above as if fully set forth

herein.

            128. The conduct of                  Defendants Kelly, Flores, JD#I, and JD#2 occured while they

were on duty, in and during the course and scope of                               their duties and functions as a Defendant

DANY investigator and Defendant NYPD commissioner and supervisors, and while they were

acting as agents and employees of                     the Defendant City of               New York; therefore Defendant City of

N ew York is liable to Plaintiff under the doctrine of respondeat superior.


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                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Denise Diaz demands judgment as follows:

      a) A declaratory judgment that the practices complained of herein are unlawful under 42
         U.S.C. § 1983, 1985, Fourth and Fourteenth Amendments of the United States
         Constitution and New York State Constitution.


      b) An injunction against Defendants and all persons acting in concert with them as
         provided by law, from engaging in each of the unlawfl practices and policies set
         forth herein;


      c) A ward Plaintiff Diaz compensatory damages against the Defendants, including but
         not limited to any emotional distress, recompensable costs related to criminal

         defenses, and any other compensatory damages as permitted by law and according to
         proof at trial;

         d. Award of Plaintiff punitive damages;

         e. Award attorney fees pursuant to 42 U.S.c. § 1988;

         f. Award costs of suit pursuant to 42 U.S.c. §§ 1920 1988; and,

         g. Award such other and further relief as this Court determines to be just and proper.


Dated: Bronx, New York
Aprill 1, 2013
                                                   Respectfully submitted,




                                                   By:


                                                          Law Offce of Ricardo Aguirre
                                                          Attorney for Plaintif
                                                          644 Soundview Avenue, Suite 6
                                                          Bronx, New York 100l9
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